 Case 2:19-cr-00877-CCC Document 348 Filed 07/09/24 Page 1 of 2 PageID: 4242




                                                                   July 9, 2024
VIA ECF
Honorable Michael A. Hammer
United States District Court for the
  District of New Jersey
Martin Luther King Courthouse
50 Walnut Street Room 2C
Newark, NJ 07101

       Re:     United States v. Matthew Goettsche, et al., 19-CR-877 (CCC)
               Proposed Modification of Pretrial Release Order

Dear Judge Hammer:

        Please accept this letter in lieu of a more formal motion on behalf of Defendant Matthew
Goettsche. We respectfully move to modify his bail conditions to allow him to attend a birthday
party and dinner for his son at local venues on July 19, 2024. The specific time and location of
the events shall be disclosed to and approved by Pretrial Services not less than 72 hours in
advance. Mr. Goettsche will be accompanied by a third-party custodian at each event.

        The Court’s Order Setting Conditions of Release (dkt. 171) requires Mr. Goettsche to
remain under home incarceration and that he “shall remain in the presence of a third-party
custodian at all times unless otherwise approved by Pretrial Services.” The Court previously
approved other proposed consent bail modifications to these conditions (dkts 187, 193, 225, 229,
252, 258, 270, 281, 290, 305, 311 and 323). The Court previously denied a motion to modify
bail conditions (dkt. 268). The aforementioned proposed modification would not otherwise
modify any other conditions as previously set forth or modified by this Court.

        Pretrial Services and the government, through AUSA Anthony Torntore, have no
objection to this proposed request. Thank you in advance.

                                                           Respectfully submitted,

                                                           /s/

                                                           Rodney Villazor, Esq.
                                                           CLARK SMITH VILLAZOR LLP
 Case 2:19-cr-00877-CCC Document 348 Filed 07/09/24 Page 2 of 2 PageID: 4243
Hon. Michael A. Hammer
July 9, 2024
Page Two

cc:   Matthew Menchel, Esq.
      Sean Buckley, Esq.
      Carolina Leung, Esq.
      Government counsel of record (via ECF and e-mail)
      U.S. Pretrial Services Officer Barbara Hutchingson (via e-mail)
      U.S. Pretrial Services Officer Kelly G. Fernandes (via e-mail)
      U.S. Pretrial Services Officer Troy Ruplinger (via e-mail)
